           Case 2:25-cr-00106-JFM       Document 1       Filed 01/23/25
                                                                         DatePage 1 of 2
                                                                             of Arrest:  01/21

                        United States District Court
                                    DISTRICT OF ARIZONA

     UNITED STATES OF AMERICA,
                                                              CRIMINAL COMPLAINT
                         V.
   Victoria ROMAN-Braulio                                     CASE NUMBER:              25-01128MJ
   Citizen of Mexico
   YOB:1990
   221180363
   Illegal Alien

I, the undersigned complainant being duly sworn state the following is true and correct to
the best of my knowledge and belief.
                                           COUNT I
That on or about December 17, 2024, Defendant Victoria ROMAN-Braulio, an alien, was
removed from the United States to Mexico through the port of Harlingen, Texas, in
pursuance of law, and thereafter on or about January 21, 2025, Defendant was found in the
United States near Congress, Arizona within the District of Arizona, the Secretary of the
Department of Homeland Security not theretofore having consented to any reapplication
by the Defendant for admission into the United States and after the Defendant had willfully
and unlawfully returned and remained in the United States; in violation of Title 8, United
States Code, Section 1326(a)(Felony).
                                           COUNT II
That on or about January 18, 2025, near Naco, Arizona, in the District of Arizona,
Defendant Victoria ROMAN-Braulio, an alien, did knowingly and willfully enter the
United States at a time or place other than as designated by Immigration Officers of the
United States of America, in violation of Title 8, United States Code, Section 1325(a)(1)
(Misdemeanor).

And the complainant further states that this complaint is based on the attached Statement
of Facts incorporated herein by reference.
 Continued on the attached sheet and made a part here of.               Yes             No

                         for AUSA Sydney Yew
                                                             Signature
                                                                 ature of Complainant

                                                             Kathy Martinez
                                                             Border Patrol Agent
Sworn to before me and subscribed telephonically,

                 January 23, 2025              at    Yuma, Arizona
 Date                                                City
                                                       ty and State

 James F. Metcalf, United States Magistrate Judge
 Name & Title of Judicial Officer                      gnnat
                                                          atuure of Judicial Officer
                                                     Signature
                 Case 2:25-cr-00106-JFM       Document 1        Filed 01/23/25        Page 2 of 2
                                    STATEMENT OF FACTUAL BASIS

Defendant:                            Victoria ROMAN-Braulio

Dependents:                           None

IMMIGRATION HISTORY:                  The Defendant is an illegal alien. The Defendant has been
                                      apprehended by the United States Border Patrol on one (1)
                                      previous occasion. The Defendant has been removed a total
                                      of one (1) time. The Defendant was las removed through
                                      Harlingen, Texas on December 17, 2024.

CRIMINAL AND IMMIGRATION HISTORY:
DATE         LOCATION         OFFENSE                             DISPOSITION
12/11/2024 Naco, Arizona      Illegal Entry                       Ordered Removed from the US (Agency) (ER)


Narrative:      The Defendant, a citizen of Mexico and illegally within the United States, was
                encountered by Border Patrol Agents near Congress, Arizona.
                The Defendant was questioned as to her citizenship and immigration status. From that
                questioning Border Patrol Agents determined that the Defendant is an undocumented
                national of Mexico and illegally in the United States.
                The Defendant was transported to the Blythe Border Patrol Station for processing.
                During processing, questioning and computer record checks the above criminal and
                immigration information was obtained as it relates to this Defendant.
                The Defendant was first ordered removed at or near Naco, Arizona on or about
                December 11, 2024.
                The Defendant last entered the United States illegally without inspection near Naco,
                Arizona on January 18, 2025.
                To the best of my knowledge and belief, the following is a list of Border Patrol law
                enforcement personnel present during interviews, statements and questioning of the
                Defendant in this matter from initial contact through the writing of this document:
                BPAs Mireya Martinez, Martin Aguirre, Yoshiro Shibayama, Polo Hernandez.
                To the best of my knowledge and belief, the following is a list of all Border Patrol
                law enforcement personnel not already mentioned above who were present and/or
                took part in other parts of this investigation (e.g., arrest, search, proactive
                investigation, surveillance, etc.) from initial field contact through the writing of this
                document: BPA Victor Blecha.


Charges:        8 USC 1326(a)                 (Felony)
                8 USC 1325(a)(1)              (Misdemeanor)

                                                           Signature of Complainant
                                                                           plainant

Sworn to before me and subscribed telephonically,

         January 23, 2025
Date                                                       Signature
                                                               atur
                                                               aturre of Judicial Officer
